                                                                    (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5     ATTORNEYS FOR  Defendant,
                   JASDEV SINGH
 6
 7
 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                  * * * * * * * *
11
     UNITED STATES OF AMERICA,                            Case No.: 1:08-CR-000212 OWW
12
                   Plaintiff,
13
           vs.                                            STIPULATION RE:
14                                                        CONTINUANCE OF SENTENCING
     JASDEV SINGH,
15                                                                      And
                   Defendant.
16                                                                  O R D E R
17
18        IT IS HEREBY STIPULATED by and between the parties herein
19   that the Sentencing currently scheduled for May 24, 2010, at 9:00
20   a.m. be continued to July 19, 2010, at 9:00 a.m. before the
21   Honorable OLIVER W. WANGER.
22         This request is based upon the fact that counsel needs
23   additional time for preparation of further pleadings.
24        Counsel’s staff has been in touch with Ms. Karen Escobar of
25   the United States Attorney’s Office, who has no objection to such
26   a continuance.
27        It is your Declarant’s opinion that a continuance such as
28   requested shall not prejudice any party concerned with this
      Case 1:08-cr-00212-AWI Document 355 Filed 05/20/10 Page 2 of 2


 1   matter.
 2        DATED: May 17, 2010.
 3                                            NUTTALL & COLEMAN
 4                                            By:    /s/ Roger T. Nuttall
                                                    ROGER T. NUTTALL
 5                                                  Attorneys for Defendant
                                                    Jasdev Singh
 6
 7        DATED: May 17, 2010
 8                                            By: /s/ Karen Escobar
                                                  KAREN ESCOBAR
 9                                                Assistant U.S. Attorney
10
                                  ***************
11
12                                  O R D E R
13
14        Good cause appearing,
15        IT IS ORDERED that the Sentencing currently scheduled
16   on May 24, 2010, at 9:00 a.m. is continued to July 19, 2010
17   at 9:00 a.m.
18   IT IS SO ORDERED.
19   Dated: May 19, 2010                    /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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